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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION



 JES PROPERTIES, INC. d/b/a CYPRESS
 TRAILS FARM, a Florida corporation,
 and MICHAEL W. GALLAGHER,

                               Plaintiffs,

 -vs-                                                          Case No. 8:02-cv-1585-T-24MAP

 USA EQUESTRIAN, INC. (formerly
 the American Horse Show Association), et al.,


                         Defendants.
 ____________________________________/


                                             ORDER
        This cause comes before the Court for consideration of the following motions:

 Defendants’, Linda S. Aldrich (“Aldrich”) and Fox Lea Farm, Inc. (“Fox Lea”)(collectively, “the

 Fox Lea Defendants”), motion for determination of entitlement to award of attorneys’ fees and

 for award of costs (Doc. No. 365); Defendant United States Equestrian Federation, Inc.’s

 (“USEF”) motion to determine entitlement to attorneys’ fees and costs (Doc. No. 368);

 Defendants’, David E. Burton, Sr., David E. Burton, Jr., Burton and Sons, Inc. and Littlewood
 Fences, Inc. (collectively, “the Burton Defendants”), motion for an award of attorneys’ fees and

 costs (Doc. No. 372); Defendants’, Stadium Jumping, Inc. (“Stadium Jumping”) and Eugene R.

 Mische (“Mische”)(collectively, “the Stadium Jumping Defendants”), motion for entry of an

 order determining entitlement to attorneys’ fees and costs (Doc. No. 374), and Defendants’,

 Thomas Struzzieri (“Struzzieri”), Horse Shows in the Sun, Inc. (“HITS”) and Rose View

 Stables, Inc. (“Rose View Stables”)(collectively, “the HITS Defendants”), motion for

 determination of entitlement to award of attorneys’ fees and for award of costs (Doc. No. 375).

 The Court shall refer to the Fox Lea Defendants, the Burton Defendants, the Stadium Jumping

 Defendants and the HITS Defendants collectively as the “Promoter Defendants.” Plaintiffs filed
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   a Combined Response to Defendants’ Motions for Entitlement to Costs and Attorney’s Fees

   (Doc. No. 381).

           Plaintiffs filed a motion for entry of an order reversing the clerk’s taxation of costs and

   staying payment until Plaintiffs exhaust all appeals (Doc. No. 389). All Defendants filed

   responses in opposition thereto (Doc. Nos. 391 - 394).

           I.     Procedural History1

           On August 29, 2002, Plaintiffs filed a three-count Complaint which raised claims of

   unreasonable restraint of trade under section 1 of the Sherman Act (Count I), monopolization

   and attempted monopolization under section 2 of the Sherman Act (Count II), and claims of

   conduct, practices and activities which have the likelihood of substantially lessening competition

   under section 7 of the Clayton Act (Count III). Upon Defendants’ motions, this Court dismissed

   the Complaint, but granted Plaintiffs leave to amend (Doc. No. 39).

           On April 18, 2003, Plaintiffs filed a nine-count Amended Complaint (Doc. No. 42) in

   which they alleged claims for violation of Section 1 of the Sherman Act, violation of Section 2

   of the Sherman Act, violation of Florida’s Antitrust Act and violation of the Florida Deceptive

   and Unfair Trade Practices Act. In the Amended Complaint, Plaintiffs also added an additional

   Defendant, North Florida Hunter & Jumper Association, Inc. (“NFHJA”)2. On October 10,

   2003, this Court denied Defendants’ Motions to Dismiss the First Amended Complaint (Doc.
   No. 59)3.

       1
        The Court will not state the extensive factual background of this case here. Instead, the Court
incorporates by reference the factual background as outlined in this Court’s May 9, 2005 Order (Doc. No.
363).
       2
        Several Defendants, USA Equestrian Trust, Inc., f/k/a USA Equestrian, Inc. (“USAE”)(formerly
The American Horse Shows Association, Inc.(“AHSA”)), Bob Bell, Classic Company Ltd., Kernan Hodges
a/k/a Mrs. George H. Hodges, Jr. and North Florida Hunter & Jumper Association, Inc. apparently settled
with the Plaintiffs and were dismissed from the case (Doc. Nos. 195, 261, 267 and 350).
       3
        The Court notes that as to Plaintiff Gallagher, the Court granted without prejudice the Burton
Defendants’ Motion to Dismiss the First Amended Complaint since Plaintiff Gallagher did not allege
compliance with “the Federation procedures and did not plead he sought a waiver of the Mileage Rule from
the Burton Defendants” (Doc. No. 59).

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           On December 19, 2003, Plaintiffs sought leave to file a fourteen count Second Amended

   Complaint to add Eugene R. Mische, Stadium Jumping, Inc., Thomas E. Struzzieri, Horse Shows

   in the Sun, Inc., Linda S. Aldridge, Fox Lea Farm, Inc., and United States Equestrian Federation,

   Inc. (“USEF”) as additional defendants (Doc. No. 77). As Defendants did not oppose this

   second amendment, the Court granted Plaintiffs leave to file a Second Amended Complaint

   (Doc. No. 81). In the Second Amended Complaint, Plaintiffs again alleged claims for violation

   of Section 1 of the Sherman Act, violation of Section 2 of the Sherman Act, violation of

   Florida’s Antitrust Act and violation of the Florida Deceptive and Unfair Trade Practices Act.

           Almost a year later, on December 16, 2004, Plaintiffs sought leave to file a Third

   Amended Complaint to add Roseview Stables Ltd. as an additional defendant (Doc. No. 250).

   Again Defendants did not oppose this third amendment, and the Court granted Plaintiffs leave to

   file a Third Amended Complaint (Doc. No. 257). In the Third Amended Complaint, Plaintiffs

   alleged that the rules of USAE and USEF, more specifically, the “Mileage Rule,”4 and

   Defendants’ alleged refusal to waive application of that rule violated section 1 of the Sherman

   Act (Count I). Counts II - IV raised claims of monopolization, attempted monopolization, and

   conspiracy to monopolize in violation of section 2 of the Sherman Act. Counts V-VIII raised

   claims of violations of the Florida Antitrust Act, FLA. STAT. §§542.18 and 542.19. Count IX

   alleged violations of the Florida Deceptive and Unfair Trade Practices Act.
           On May 9, 2005, this Court entered an Order granting Defendants’-- USEF, the Burton

   Defendants, the HITS Defendants, and the Stadium Jumping Defendants -- motions for summary

   (Doc. No. 363). The Court further held that “[s]ince the Court has found Plaintiffs’ claims are

   barred by the Defendants’ implied immunity, all claims against Defendants Linda S. Aldrich and

   Fox Lea Farms, Inc. shall be dismissed.”


       4
        The Mileage Rule provides, in part, that in all States other than Maine, New Hampshire, Vermont,
Connecticut, Rhode Island, New Jersey, New York and Pennsylvania, horse shows offering “A” rated hunter
and jumper events must be held at least 250 miles apart on the same date. The Mileage Rule may be waived
by a conflicting horse show promoter.

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           On May 23, 2005, the Fox Lea Defendants filed their motion for determination of

   entitlement to award of attorneys’ fees and for award of costs pursuant to Fed. R. Civ. P. 54, the

   Florida Antitrust Act, and the Florida Deceptive and Unfair Trade Practices Act (Doc. No. 365)5.

   On May 24, 2005, Defendant USEF filed its motion to determine entitlement to attorneys’ fees

   and costs pursuant to Fed. R. Civ. Pro. 54, the Florida Antitrust Act, and the Florida Deceptive

   and Unfair Trade Practices Act (Doc. No. 368)6. On May 24, 2005, the Burton Defendants filed

   their motion for an award of attorneys’ fees and costs pursuant to Fed. R. Civ. P. 54, Fla. R. Civ.

   P. 1.442, FLA. STAT. §768.79, the Florida Antitrust Act, and the Florida Deceptive and Unfair

   Trade Practices Act (Doc. No. 372)7. On May 24, 2005, the Stadium Jumping Defendants filed

   their motion for an order determining entitlement to attorneys’ fees and costs pursuant to Fed. R.

   Civ. P. 54, FLA. STAT. §768.79, the Florida Antitrust Act, and the Florida Deceptive and Unfair

   Trade Practices Act (Doc. No. 374)8. On May 23, 2005, the HITS Defendants filed their motion

   for determination of entitlement to award of attorneys’ fees and for award of costs pursuant to




       5
          The Court notes that the Fox Lea Defendants fail to provide any citation of authorities with respect
to their entitlement to attorneys’ fees under the Florida Antitrust Act. Likewise, the Fox Lea Defendants
fail to provide any arguments or citation of authorities with respect to their entitlement to attorneys’ fees
pursuant to the Florida Deceptive and Unfair Trade Practices Act. Rather, they request this Court reserve
ruling on their entitlement to an award of attorneys’ fees as the prevailing party under the Florida Deceptive
and Unfair Trade Practices Act until all appeals have been exhausted.
       6
         Defendant USEF states “the additional cost entitlement reference in this Motion would simply be
costs allowed under the Florida Deceptive and Unfair Trade Practices Act, if any, above and beyond those
provided by federal law.” Defendant USEF fails to provide any citation of authorities with respect to their
entitlement to attorneys’ fees and costs under the Florida Deceptive and Unfair Trade Practices Act or their
entitlement to attorneys’ fees under the Florida Antitrust Act.
       7
         The Burton Defendants fail to provide any citation of authorities with respect to their entitlement
to attorneys’ fees and costs under the Florida Deceptive and Unfair Trade Practices Act or their entitlement
to attorneys’ fees under the Florida Antitrust Act.
       8
        The Stadium Jumping Defendants fail to provide any citation of authorities with respect to their
entitlement to attorneys’ fees and costs under the Florida Antitrust Act.

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   Fed. R. Civ. P. 54, the Florida Antitrust Act, and the Florida Deceptive and Unfair Trade

   Practices Act (Doc. No. 365)9.

             On May 23, 2005, the Fox Lea Defendants filed a Bill of Costs seeking $4,735.55 in total

   costs for transcripts and mediation fees (Doc. No. 367). On May 24, 2005, Defendant USEF

   filed a Bill of Costs seeking $7,697.65 in total costs for transcripts (Doc. No. 369). On May 24,

   200510, the Stadium Jumping Defendants filed a Bill of Costs seeking $9,034.14 in total costs for

   transcripts and mediation fees (Doc. No. 371). On May 24, 2005, the HITS Defendants filed a

   Bill of Costs seeking $4,974.67 in total costs for transcripts and mediation fees (Doc. No. 376).

   On June 7, 2005, Plaintiffs filed their Notice of Appeal (Doc. No. 378). On June 8, 2005, the

   Burton Defendants filed a Bill of Costs seeking $6,969.90 in total costs for transcripts and

   mediation fees (Doc. No. 380). On June 22, 2005, the Clerk taxed costs in the amount of

   $33,411.91 against Plaintiffs (Doc. Nos. 384 - 388).

             II.    Discussion

             In the underlying case, the question before this Court was whether Plaintiffs could

   recover under the antitrust laws based upon the alleged anticompetitive impact of the

   Defendants’ adherence to the rules promulgated by the national governing body of equestrian

   sport in the United States11. The Court found they could not and entered summary judgment for

   Defendant USEF, the Burton Defendants, the HITS Defendants, and the Stadium Jumping
   Defendants. The Court also dismissed all claims against the Fox Lea Defendants. There is no

   dispute that Defendants are the prevailing parties in this action. The issue now before this Court

       9
         The HITS Defendants fail to provide any citation of authorities with respect to their entitlement to
attorneys’ fees under the Florida Antitrust Act. Likewise, the HITS Defendants fail to provide any citation
of authorities with respect to their entitlement to attorneys’ fees pursuant to the Florida Deceptive and
Unfair Trade Practices Act. Rather, they request this Court reserve ruling on their entitlement to an award
of attorneys’ fees as the prevailing party under the Florida Deceptive and Unfair Trade Practices Act until
all appeals have been exhausted.
       10
         The Court notes that the Stadium Jumping Defendants subsequently refiled their Bill of Costs on
June 8, 2005 (Doc. No. 379).
       11
            Defendant USEF.

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   is whether Defendants are entitled to attorneys’ fees and costs. For the reasons discussed below,

   this Court finds that Defendants are not entitled to attorneys’ fees and are only entitled to taxable

   costs pursuant to Fed. R. Civ. Pro. 54(d)(1).

            A.     Attorneys’ Fees

                   1.      Attorneys’ Fees Under the Florida Antitrust Act

            FLA. STAT. §542.22 provides that a defendant in an action under the Florida Antitrust

   Act can recover its attorneys’ fees if the Court determines that there was a complete absence of a

   justiciable issue of either law or fact raised by plaintiff. FLA. STAT. §542.22 states in relevant

   part:

            (1) . . . The court shall award a reasonable attorney’s fee to a defendant prevailing in any
            action under this chapter for damages or equitable relief in which the court finds there
            was a complete absence of a justiciable issue of either law or fact raised by the plaintiff.

   Defendants contend that no justiciable issue of law or fact existed in this case12.

            Although Florida courts have not specifically addressed what constitutes a complete

   absence of a justiciable issue under FLA. STAT. §542.22, “Florida courts have consistently held

   that in order for an action to be devoid of merit so as to not have a justiciable issue, the claims

   must be ‘frivolous.’” See Amey, Inc. v. Gulf Abstract & Title, Inc., 758 F.2d 1486, 1508 (11th

   Cir. 1985)(citations omitted)(addressing attorneys’ fees under FLA. STAT. §57.105 in the context

   of state antitrust claims). The “[f]rivolousness of a claim or a defense is to be judged and
   determined as of the time it is initially presented, and if it can pass muster at that point,

   subsequent developments which render the claim or the defense to be without justiciable issue in

   law or fact should not subject the losing party to attorney’s fees.” Murphy v. WISU Properties,
   Ltd., 895 So. 2d 1088, 1094 (Fla. 3d DCA 2004)(citations omitted). In other words the Court




       12
           The Fox Lea Defendants contend that “the facts of this case establish that no justiciable issue of
fact or law ever existed” with respect to them. However, the Court notes that the Fox Lea Defendants did
not file dispositive motions and their motion for attorneys’ fees improperly attempts to introduce new facts
for consideration by this Court.

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   should avoid Monday morning quarterbacking, or after-the-fact reasoning, that the antitrust

   claims must have been frivolous because Plaintiffs did not ultimately prevail.

            In arguing its entitlement to attorneys’ fees, Defendant USEF asserts that “pursuing novel

   legal theories is not free.” Pursuing novel legal arguments or creative advocacy, especially in

   the antitrust context, does not necessarily equate to a case being frivolous or that an award of

   attorneys’ fees is justified. “To permit growth and change in our legal principles, an attorney

   must be able to present a case where there is a reasonable argument for the modification or

   reversal of existing law.” See Norton Tire Co., Inc. v. Tire Kingdom Co., Inc.. 116 F.R.D. 236,

   241 (S.D. Fla. 1987)(denying motion for attorneys’ fees under Fed. R. Civ. Pro. 11 and FLA.

   STAT. §542.22).

            This case arose from a highly unusual factual situation involving the sanctioning of

   hunter and jumper horse show competitions in the state of Florida during the winter months. As

   the facts of this case did not squarely fall within binding case precedent, Plaintiffs attempted to

   stretch the parameters of existing antitrust law in bringing their claims. Likewise, Defendants

   based their motions for summary judgment in part upon the esoteric Amateur Sports Act. Given

   the unique nature of this case, this Court is not inclined to award attorneys’ fees based upon

   Plaintiffs’ pursuit of novel legal theories. Although the Court granted summary judgment on the

   alleged state antitrust violations, there was not a complete absence of a justiciable issue of either
   law or fact in Plaintiffs’ case. Accordingly, Defendants’ motions for entitlement to attorneys’

   fees pursuant to the Florida Antitrust Act are denied.

                   2.      Attorneys’ Fees and Costs Under the Florida Deceptive and Unfair
                           Practices Act

            FLA. STAT. §501.2105 provides for the discretionary award of attorneys’ fees and costs

   to the party prevailing on a claim under the Florida Deceptive and Unfair Trade Practices Act13.

       13
         The Court notes that prior to 1994, the prevailing party in civil litigation brought under the Florida
Deceptive and Unfair Practices Act was mandatorily entitled to recover reasonable attorneys’ fees and costs
from the nonprevailing party. The Legislature amended §501.2105 in 1994 to place an award of such fees
and costs within the discretion of the trial court. See Hubbel v. Aetna Cas. & Sur. Co., 758 So.2d 94, 101

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             FLA. STAT. §501.2105 states in relevant part:

             (1)       In any civil litigation resulting from an act or practice involving a violation of this
             part . . . the prevailing party, after judgment in the trial court and exhaustion of all
             appeals, if any, may receive his or her reasonable attorney’s fees and costs from the
             nonprevailing party.

             (3)    The trial judge may award the prevailing party the sum of reasonable costs
             incurred in the action plus a reasonable legal fee for the hours actually spent on the case
             as sworn to in an affidavit.

             Defendants ask that the Court reserve ruling on their entitlement to an award of

   attorneys’ fees and costs under the Florida Deceptive and Unfair Trade Practices Act until all

   appeals have been exhausted. However, because the Court does not believe Defendants are

   entitled to attorneys’ fees and costs under the Florida Deceptive and Unfair Trade Practices Act,

   the Court declines to do so.

             Here Defendants have not established that an award of attorneys’ fees and costs under the

   Florida Deceptive and Unfair Trade Practices Act is appropriate under the facts of this case.

   Specifically, Defendants have not demonstrated that they expended any meaningful attorney

   time or costs in defending against Plaintiff’s Florida Deceptive and Unfair Trade Practices Act

   claim. Plaintiffs’ single claim under the Florida Deceptive and Unfair Trade Practices Act was

   based upon the same allegations as their antitrust claims. In fact, Plaintiffs conceded that their

   Florida Deceptive and Unfair Trade Practice Act claims “survive” or “fall” with their antitrust

   claims (Doc. No. 363, p. 37). Defendants largely relied on the outcome of their antitrust

   arguments in defending against the Florida Deceptive and Unfair Trade Practices Act claim.

   Granting Defendants’ motion for attorneys’ fees and costs pursuant to FLA. STAT. §501.2105

   would be tantamount to awarding them attorneys’ fees under the Sherman Act14, or the Florida

   Antitrust Act, which they are not entitled to. As such, the Court finds that an award of attorneys’




n.10 (Fla. 2000)(Lewis, J., concurring in part and dissenting in part).
       14
            Pursuant to the Clayton Act, 15 U.S.C. §§15 and 26.

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   fees and costs under the Florida Deceptive and Unfair Trade Practices Act is not warranted in

   this case

                   3       Attorneys’ Fees Pursuant to FLA. STAT. §768.79 - Offer of Judgment

            Under certain conditions, FLA. STAT. §768.79 permits a defendant who prevails in a civil

   action to recover his attorneys’ fees if he files an offer of judgment which is not accepted by the

   plaintiff. In their motion for attorneys’ fees, the Burton Defendants argue they are entitled to

   attorneys’ fees since each served separate offers of judgment on Plaintiffs on March 19, 2004

   which were not accepted. Specifically, “[t]hese offers of judgment related to Counts V, VI, VII,

   VIII and IX15 of the Second Amended Complaint and offered to settle those claims for $500 from

   each of the Burton Defendants for each of the Plaintiffs” (Doc. No. 372, p. 2 and Composite Exh.

   A thereto). Likewise, the Stadium Jumping Defendants allege they served “substantial offers of

   judgment on July 20, 2004" and, therefore, are entitled to their “reasonable costs, including

   investigative expenses, and attorney’s fees”(Doc. Nos. 370 and 374, p. 4). Plaintiffs contend that

   this Court should deny the Burton Defendants’ and Stadium Jumping Defendants’ motions for

   attorneys’ fees pursuant to FLA. STAT. §768.79 since: (1) FLA. STAT. §768.79 is preempted by

   the Sherman Act; (2) the offers of judgment are facially invalid; and (3) and the offers of

   judgment were made in bad faith.

            FLA. STAT. §768.79 states in relevant part:

            (1)     In any civil action for damages filed in the courts of this state, if a defendant
            files an offer of judgment which is not accepted by the plaintiff within 30 days,
            the defendant shall be entitled to recover reasonable costs and attorney’s fees incurred by
            her or him on defendant’s behalf pursuant to a policy of liability insurance or other
            contract from the date of filing of the offer if the judgment is one of no liability or the
            judgment obtained by the plaintiff is at least 25 percent less than such offer . . ..

            (2)    The making of an offer of settlement which is not accepted does not preclude
            the making of a subsequent offer. An offer must:
            (a)    Be in writing and state that it is being made pursuant to this section.
            (b)    Name the party making it and the party to whom it is being made.
            (c)    State with particularity the amount offered to settle a claim for punitive


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        Counts V-VIII raised claims of violations of the Florida Antitrust Act, FLA. STAT. §§542.18 and
542.19. Count IX alleged violations of the Florida Deceptive and Unfair Trade Practices Act.

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          damages, if any.
          (d)   State its total amount.

          The offer shall be construed as including all damages which may be awarded in a final
          judgment.

          (7)(a) If a party is entitled to costs and fees pursuant to the provisions of this section,
          the court may, in its discretion, determine that an offer was not made in good faith. In
          such case, the court may disallow an award of costs and attorney’s fees.

  The procedural requirements for submitting and accepting offers of judgment, and moving for

  attorneys’ fees after the final judgment, are outlined in Fla. R. Civ. P. 1.442. Fla. R. Civ. P.

  1.442(a) provides that “[t]his rule applies to all proposals for settlement authorized by Florida

  law, regardless of the terms used to refer to such offers, demands, or proposals, and supersedes

  all other provisions of the rules and statutes that may be inconsistent with this rule.” Fla. R. Civ.

  P. 1.442(c)(2)(A)-(G) governs the form and content of a proposal for settlement. See Lucas v.

  Calhoun, 813 So. 2d 971, 973 (Fla. 2d DCA 2002). “A proposal shall be deemed rejected unless

  accepted by delivery of a written notice of acceptance within 30 days after service of the

  proposal.” Fla. R. Civ. P. 1.442(f)(1).

                   a.    FLA. STAT. §768.79 is Preempted By the Sherman Act

          FLA. STAT. §768.79 is preempted in the instant case since its application would be

  inconsistent with federal law. Florida antitrust law and the Florida Deceptive and Unfair Trade

  Practice Act mirror Federal antitrust law. Disposing of Plaintiffs’ Federal antitrust claims

  contemporaneously decided Plaintiffs’ state law claims (Doc. No. 363, pp. 35-37). Generally
  speaking, “[a]ttorney’s fees under the antitrust laws that authorize damages awards are generally

  mandatory and are awarded to successful plaintiffs only.” 2 Alba Conte, Attorney Fee Awards,
  §9:1 at 467 (3d ed. 2004). In contrast, FLA. STAT. §768.79 permits a defendant who prevails in a

  civil action to recover his attorneys’ fees if he files an offer of judgment which is not accepted by

  the plaintiff.




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           To award attorneys’ fees under FLA. STAT. §768.79, based upon state law claims

  permitted in federal court by the supplemental jurisdiction statute16, would impermissibly

  substitute the interests of FLA. STAT. §768.79 for those expressly provided for by the Sherman

  Act17. See Keesee v. Bank of America, NA, 371 F. Supp. 2d 1370, 1376-77 (M.D. Fla.

  2005)(holding FLA. STAT. §768.79 did not apply in case arising under Title VII); see also Moran

  v. City of Lakeland, 694 So. 2d 886, 887 (Fla. 2d DCA 1997).

                  b.      The Offers of Judgment Are Facially Invalid and Were Not Made in Good
                          Faith

           In reviewing a defendant’s request for attorneys’ fees under FLA. STAT. §768.79, the

  court must first examine whether statutory prerequisites have been met thereby creating an

  entitlement to fees. See TGI Friday’s , Inc. v. Dvorak, 663 So.2d 606, 611 (Fla. 1995). That

  entitlement to fees may lead to an award of fees, unless there is a finding that the entitlement was

  created “not in good faith.” Id. at 611-13. For the reasons discussed more fully below, the Court

  finds that the offers of judgment made by the Burton Defendants and the Stadium Jumping

  Defendants cannot support an award of fees and were not made in good faith.

           In this case, Plaintiffs sought both damages and injunctive relief (Doc. No. 258, pp. 76-

  77). Specifically, in Counts V-IX, Plaintiffs requested injunctive relief pursuant to the Florida

  Antitrust Act and the Florida Deceptive and Unfair Trade Practices Act enjoining continuing

  alleged violations of these provisions. The offers of judgment made by the Burton Defendants
  and the Stadium Jumping Defendants were ambiguous and invalid in that they failed to address

  the injunctive relief and failed to resolve future acts of alleged competitive exclusion, i.e.

  adherence to the Mileage Rule. See Di Paloa v. Beach Terrace Ass’n, 718 So. 2d 1275, 1277
  (Fla. 2d DCA 1998). The offers of judgment did not state, for example, whether the Burton

  Defendants or the Stadium Jumping Defendants were agreeing to the entry of injunctive relief,



     16
          28 U.S.C. §1367.
     17
          15 U.S.C. §§15 and 26.

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  rather the language in the offers of judgment stated only that they were “intended to resolve all

  claims of relief” (Doc. Nos. 370 and 373). If the plaintiffs had accepted the offers, they might

  still have been forced to litigate their requests for injunctive relief. “The purposes of section

  768.79 include the early termination of litigation. An offer of judgment that would not allow

  immediate enforcement on acceptance is invalid.” Id.

         Additionally, the Burton Defendants and Stadium Jumping Defendants failed to adhere to

  the offer of judgment procedures set forth in Fla. R. Civ. P. 1.442. Fla. R. Civ. P. 1.442(c)(2)(D)

  states that the proposal shall “state the total amount of the proposal and state with particularity

  all nonmonetary terms of the proposal.” Neither the Burton Defendants nor the Stadium

  Jumping Defendants included nonmonetary terms in their offers of judgment. Furthermore, the

  offers of judgment impermissibly failed to specify whether the claims would be resolved “by a

  release (full or partial), a dismissal, or any other means” so that Plaintiffs could “fully evaluate

  its terms and conditions.” Lucas, 813 So. 2d at 973. Based on the foregoing, the Court finds that

  the offers of judgment were legally insufficient and cannot support an award of attorneys’ fees to

  the Burton Defendants and the Stadium Jumping Defendants pursuant to FLA. STAT. §768.79.



         Even assuming that the offers of judgment were valid; however, this Court would still

  disallow the recovery of attorneys’ fees in that it finds the offers of judgment were not made in

  good faith. Typically, once the statutory requisites have been met, an award of attorneys’ fees
  and costs pursuant to an offer of judgment is mandatory. See Vines v. Mathis, 867 So.2d 548,
  549 (Fla. 1st DCA 2004). However, FLA. STAT. §768.79(7)(a) allows a court, in its discretion,

  to disallow the recovery of attorney’s fees if it determines that the offer of judgment was not

  made in good faith. In determining if an offer was made in good faith, the question to be

  considered is whether the offer or proposal bears a reasonable relationship to the amount of

  damages suffered and was a realistic assessment of liability. See Evans v. Piotraczk, 724 So.2d

  1210 (Fla. 5th DCA 1998). The offer need not equate with the total amount of damages that


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  might be at issue. See Nants v. Griffin, 783 So.2d 363, 364 (Fla. 5th DCA 2001). Moreover, a

  minimal offer can be made in good faith if the evidence demonstrates that, at the time it was

  made, the offeror had a reasonable basis to conclude that its exposure was nominal. See Evans,

  724 So. 2d at 1210; see also Zachem v. Paradigm Properties Mgmt. Team, Inc., 867 So.2d 1263

  (Fla. 1st DCA 2004).

          An offeror does not need to possess “at the time he makes an offer or demand . . . the

  kind or quantum of evidence needed to support a judgment.” Schmidt v. Fortner, 629 So.2d

  1036, 1039 (Fla. 4th DCA 1993). “The obligation of good faith merely insists that the offeror

  have some reasonable foundation on which to base an offer.” Id. “An offer of judgment ought

  to fairly account for the risks of litigation, the costs and fees at stake, and the other components

  of uncertainty that sophisticated persons assay when deciding whether to settle . . . . A bona fide

  offer of judgment should be sufficient to cause a temperate and knowledgeable attorney to pause

  and carefully evaluate his client’s stance.” Stouffer Hotel Co. v. Teachers Ins., 944 F. Supp.

  874, 875 (M.D. Fla. 1995). “The range of potential recovery, the clarity of the law, the extent of

  invested effort, and other considerations necessarily affect the balance.” Id.

          The good faith inquiry requires the trial court to review the facts and circumstances

  known to the offeror at the time it made the offer. See Fox v. McCaw Cellular Communications

  of Fla., Inc., 745 So.2d 330, 332-33 (Fla 4th DCA 1998). The burden is on the offeree to prove

  the absence of good faith. See Camejo v. Smith, 774 So.2d 28 (Fla. 2d DCA 2000)(citing
  Donohoe v. Starmed Staffing, Inc., 743 So.2d 623, 624 (Fla. 2d DCA 1999)).

          With respect to the Burton Defendants, their offers of judgment in the aggregate amount

  of $4,000.00 were minimal. Their motion for attorneys’ fees contains the conclusory statement

  that they “served their offers of judgment in good faith . . . after much of the written discovery in

  this case . . . and after a thorough analysis of the validity of the initial Complaint and the First

  and Second Complaints.” However, the Burton Defendants fail to state the basis for their belief

  that their exposure was nominal. The Stadium Jumping Defendants, who made offers of


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   judgment in the aggregate amount of $2,000.00, do state that “Mr. Mische and SJI recognized

   and understood early on that neither Plaintiff could substantiate any such claims against either of

   them.” However, they do not elaborate more and fail to provide the Court with evidence that

   demonstrated that their exposure was nominal.

            The Florida Supreme Court recognizes “that attorney fees awarded pursuant to the offer

   of judgment statutes are sanctions . . . for unreasonable rejections of offers of judgment.” Sarkis

   v. Allstate Ins. Co., 863 So.2d 210, 218 (Fla. 2003). It is “a sanction levied against the rejecting

   party for unnecessarily continuing the litigation.” Id. at 222. This case was a complex antitrust

   case with multiple parties and numerous allegations, requiring lengthy and substantial discovery.

   On October 10, 2003, this Court entered on Order in which it found that Plaintiff’s First

   Amended Complaint contained sufficient allegations to survive several motions to dismiss (Doc.

   No. 59). From a review of the record, it is clear that in March and July of 2004, the dates the

   offers of judgment were served, substantial discovery including numerous depositions remained

   to be completed (Doc. Nos. 108 - 110, 119 - 124 and 174)18. Additionally, with respect to the

   Stadium Jumping Defendants, the Court notes that at the time they served their offers of

   judgment, this Court had only recently vacated defaults against them and permitted them to file a

   response to the Second Amended Complaint (Doc. No. 167). The Court finds that given the

   novelty and difficulty of the issues in this case, and the timing and amount of the Burton

   Defendants and Stadium Jumping Defendants offers of judgment, that the offers of judgment
   were not in good faith. Accordingly, this Court declines to award the Burton Defendants and the

   Stadium Jumping Defendants attorneys’ fees pursuant to FLA. STAT. §768.79.
            B.     Costs Pursuant to Fed. R. Civ. P. 54(d)(1)




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         The Court notes that the discovery cutoff was eventually extended to December 31, 2004, with
expert discovery not closing until February 28, 2005 (Doc. No. 254).

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         Pursuant to Rule 54(d)(1) of the Federal Rules of Civil Procedure, costs “shall be allowed

  as a matter of course to the prevailing party unless the court otherwise directs.” In accordance

  with Title 28 U.S.C. § 1920, the Court may tax the following costs:

                 (1) Fees of the clerk and marshal;

                 (2) Fees of the court reporter for all or any part of the stenographic
                     transcript necessarily obtained for use in this case;

                 (3) Fees and disbursements for printing and witnesses;

                 (4) Fees for exemplification and copies of papers necessarily
                     obtained for use in this case;

                 (5) Docket fees under section 1923 of this title;

                 (6) Compensation of court appointed experts, compensation of
                     interpreters, and salaries, fees, expenses, and costs of special
                     interpretation services under section 1828 of this title.

         After the prevailing party files a verified bill of costs with the clerk, the opposing party

  may object. The objecting party has the burden to show that circumstances are such that an

  award of costs is not warranted in a particular case. See Arcadian Fertilizer, L.P. v. MPW Indus.

  Serv., Inc., 249 F.3d 1293, 1296 (11th Cir. 2001); see also 10 Charles Alan Wright & Arthur R.

  Miller, Federal Practice and Procedure § 2668 (3d ed. 1998). Plaintiffs object to the “validity

  and reasonableness” of costs assessed in favor of Defendants and request that this Court utilize

  its discretionary authority to review and reverse the Clerk’s taxation of costs under Fed. R. Civ.

  P. 54(d)(1). The Court has determined that Defendants are the prevailing parties, and after
  reviewing the record in this case, the Court finds no reason to deny costs under Fed. R. Civ. P.

  54(d)(1) to the prevailing parties. See Kotex v. Almost Family, Inc., 2005 WL 1126558 *2
  (M.D. Fla. 2005).

         Plaintiffs argue that the Promoter Defendants are not entitled to recover costs for

  mediation expenses. The amount assessed in favor of each Promoter Defendant was $775.00, for

  a total cost of $3,100.00. This Court agrees that 28 U.S.C. §1920 does not contain a provision

  permitting recovery of mediation expenses and will disallow these fees. Plaintiffs further


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   contend that Defendant USEF is not entitled to recover costs for duplicate copies of deposition

   transcripts. Defendant USEF responds that it “does not oppose the reduction of its cost award by

   $604.40.” Accordingly, the Court will reduce the taxation of costs in favor of Defendant USEF

   by $604.4019.

            Plaintiffs urge that this Court should stay enforcement of any award of costs until

   Plaintiffs’ appeals have been exhausted. Although costs cannot be awarded under the Florida

   Deceptive and Unfair Trade Practices Act until the exhaustion of all appeals, the Sherman Act

   and the Florida Antitrust Act contain no such restrictions. Accordingly, the Court finds that the

   award of taxable costs under Fed. R. Civ. P. 54(d)(1) need not be delayed as requested by

   Plaintiffs.

            III.   Conclusion

            Accordingly, it is ORDERED AND ADJUDGED that:

            (1)    Defendants’, Linda S. Aldrich (“Aldrich”) and Fox Lea Farm, Inc. (“Fox

                   Lea”)(collectively “the Fox Lea Defendants”), motion for determination of

                   entitlement to award of attorneys’ fees and for award of costs (Doc. No. 365) is

                   GRANTED to the extent that the Fox Lea Defendants are entitled to their costs

                   already taxed in the amount of $4,735.55 pursuant to Fed. R. Civ. Pro.

                   54(d)(1)(Doc. No. 388), less $775.00, otherwise their motion is DENIED.

            (2)    Defendant United States Equestrian Federation, Inc.’s (“USEF”) motion to

                   determine entitlement to attorneys’ fees and costs (Doc. No. 368) is GRANTED

                   to the extent that Defendant USEF is entitled to its costs already taxed in the

                   amount of $7,697.65 pursuant to Fed. R. Civ. Pro. 54(d)(1)(Doc. No. 387), less

                   $604.40, otherwise its motion is DENIED.




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       $604.40 represents the amount of the second invoice, #73507, for the transcripts of David
O’Connor and John Long (Doc. No. 369).

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        (3)   Defendants’, David E. Burton, Sr., David E. Burton, Jr., Burton and Sons, Inc.

              and Littlewood Fences, Inc. (collectively, “the Burton Defendants”), motion for

              an award of attorneys’ fees and costs (Doc. No. 372) is GRANTED to the extent

              that the Burton Defendants are entitled to their costs already taxed in the amount

              of $6,969.90 pursuant to Fed. R. Civ. Pro. 54(d)(1)(Doc. No. 384), less $775.00,

              otherwise their motion is DENIED.

        (4)   Defendants’, Stadium Jumping, Inc. (“Stadium Jumping”) and Eugene R. Mische

              (“Mische”)(collectively, “the Stadium Jumping Defendants”), motion for entry of

              an order determining entitlement to attorneys’ fees and costs (Doc. No. 374) is

              GRANTED to the extent that the Stadium Jumping Defendants are entitled to

              their costs already taxed in the amount of $9,034.14 pursuant to Fed. R. Civ. Pro.

              54(d)(1)(Doc. No. 385), less $775.00, otherwise their motion is DENIED.

        (5)   Defendants’, Thomas Struzzieri (“Struzzieri”), Horse Shows in the Sun, Inc.

              (“HITS”) and Rose View Stables, Inc. (“Rose View Stables”)(collectively, “the

              HITS Defendants”), motion for determination of entitlement to award of

              attorneys’ fees and for award of costs (Doc. No. 375) is GRANTED to the extent

              that the HITS Defendants are entitled to their costs already taxed in the amount of
              $4,974.67 pursuant to Fed. R. Civ. Pro. 54(d)(1)(Doc. No. 386), less $775.00,

              otherwise their motion is DENIED.

        (6)   Plaintiffs’ request for oral argument on Defendants’ motions for entitlement to

              attorneys’ fees and costs is DENIED.

        (7)   Plaintiffs’ motion for entry of an order reversing the clerk’s taxation of costs and

              staying payment until Plaintiffs exhaust all appeals (Doc No. 389) is GRANTED

              IN PART insofar as the Defendants’ total costs to be taxed are reduced from

              $33,411.91 to $29,707.51 as set forth above, otherwise the motion is DENIED.




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         DONE AND ORDERED at Tampa, Florida, this 17th day of March, 2006.


  Copies to:

  Counsel of Record




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